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IN THE UNITED STATES DISTRICT COURT

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FOR THE DISTRICT OF MONTANA ri
BILLINGS DIVISION SEP 3 9

CHARLES M. BUTLER, III and
CHOLE BUTLER

Plaintiffs,

VS.

UNIFIED LIFE INSURANCE
COMPANY; HEALTH PLANS
INTERMEDIARIES HOLDINGS,
LLC, doing business as Health
Insurance Innovations, Inc.; ALLIED
NATIONAL, INC.; NATIONAL
BROKERS OF AMERICA, INC.;
THE NATIONAL CONGRESS OF
EMPLOYERS, INC.; and DOES 1-10

Defendants.

 

 

§ District Cour
1 Of montana
Billings

Clerk, U
Distric

CV 17-50-BLG-SPW

ORDER

Before the Court are United States Magistrate Judge Cavan’s findings and

recommendations issued August 9, 2019. (Doc. 225). Judge Cavan recommends

the Court grant in part and deny in part various cross motions for summary

judgment filed by the parties.

I. Standard of review

The parties filed timely objections to the findings and recommendation.

(Doc. 27). The parties are entitled to de novo review of those portions of Judge
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Cavan’s findings and recommendation to which they properly object. 28 U.S.C. §
636(b)(1); Fed. R. Civ. P. 72(b)(3).
Il. Judge Cavan’s recommendations

Judge Cavan issued recommendations on the Plaintiffs’ motion for partial
summary judgment (Doc. 98) and the Plaintiffs’ second motion for partial
summary judgment (Doc. 125); Defendant Allied National and Unified Life’s
motion for partial summary judgment (Doc. 115) and their motion for summary
judgment (Doc. 128); Defendant Health Plans Intermediaries’ motion for summary
judgment (Doc. 132); and Defendant National Congress of Employers’ motion for
summary judgment (Doc. 137).

Regarding the Plaintiffs’ motion for partial summary judgment (Doc. 98)
and Allied/Unified’s motion for partial summary judgment (Doc. 115), Judge
Cavan recommended Unified breached the Reasonable and Customary Charge
clause of the insurance policy as a matter of law, did not breach the policy in
regard to network access as a matter of law, and did not breach the policy in regard
to the extension of benefits as a matter of law. (Doc. 225 at 10-25).

Regarding Allied/Unified’s motion for summary judgment (Doc. 128),
Judge Cavan recommended the motion be granted as to Allied and denied as to

Unified. (Doc. 225 at 25-28).
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Regarding the Plaintiffs’ second motion for partial summary judgment (Doc.
125) and Health Plans Intermediaries’ motion for summary judgment (Doc. 132),
Judge Cavan recommended the motions be denied as to Counts III-[X and XIV
because there were disputed issues of material fact. Judge Cavan recommended
Health Plans Intermediaries’ motion be granted as to counts II and X-XIII. (Doc.
225 at 34-54).

Regarding the National Congress of Employers’ motion for summary
judgment, Judge Cavan recommended the motion be granted as to Counts II and
VII-XIII but denied as to Counts II-VII and XV. (Doc. 225 at 54-59).

III. Parties’ objections

A. Defendant Unified Life Insurance Company’s objections

Unified objects to Judge Cavan’s recommendation that it breached the
Reasonable and Customary Charge clause of its insurance policy as a matter of
law. The Court agrees with Judge Cavan and adopts Judge Cavan’s
recommendation in full.

B. ‘The Plaintiffs’ objections

The Plaintiffs object to Judge Cavan’s recommendation that Unified did not
breach the insurance policy regarding network access and extension of benefits.
The Court agrees with Judge Cavan and adopts Judge Cavan’s recommendation in

full.
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C. Defendant Health Plans Intermediaries’ objections

Health Plans Intermediaries objects to Judge Cavan’s recommendation that
disputed issues of fact prevent summary judgment in its favor on Counts III-IX and
XIV. The Court agrees with Judge Cavan and adopts Judge Cavan’s

recommendation in full.

IV. Order

It is hereby ordered:

1. Judge Cavan’s findings and recommendations (Doc. 225) are adopted
in full;

2. The Plaintiffs’ motion for partial summary judgment (Doc. 98) is
granted in part and denied in part;

3.  Allied/Unified’s motion for partial summary judgment (Doc. 115) is
granted in part and denied in part;

4, Allied/Unified’s motion for partial summary judgment (Doc. 128) is

granted as to Allied and denied as to Unified;

5. The Plaintiffs’ second motion for partial summary judgment (Doc.
125) is denied;
6. Health Plans Intermediaries’ motion for summary judgment (Doc.

132) is granted as to Counts II and X-XIII and denied as to Counts III-IX and XIV;
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7. National Congress of Employers’ motion for summary judgment
(Doc. 137) is granted as to Counts II and VIII-XII and denied as to Counts HI-VII
and XV.

8. National Congress of Employers’ motion to strike (Doc. 209) is

granted.

DATED this 40 day of September 2019.

Levee Litt

“SUSAN P. WATTERS
United States District Judge
